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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS


 UNITED STATES OF AMERICA,                               )
                                                         )
                   Plaintiff,                            )
                                                         )
         v.                                              )       CRIMINAL NO. 96-30987-WDS
                                                         )
 ERIC G. HARLEY,                                         )
                                                         )
                 Defendant.                              )


                                   MEMORANDUM & ORDER

 STIEHL, District Judge:

         This matter is before the Court on defendant’s pro se motion to reduce, modify or correct

 sentence pursuant to 18 U.S.C. § 3582(c)(2). The defendant seeks review of his sentence, and

 the retroactive application of amendments 487 and 591 of the Guidelines to his sentence.



                                              ANALYSIS

         The provisions of § 3582 permit a court to reduce a defendant’s term of imprisonment if

 there has been a subsequent amendment to the guideline range that applies retroactively. This

 statute does not, however, allow a defendant to file a motion based on new case law or rulings.

 In fact, this Court’s review under § 3582 is limited to the effect of the post-sentencing

 amendment on the guideline range. See, eg. United States v. Smith, 438 F.3d 796, 799 (7th Cir.

 2006); United States v. Bravo, 203 F.3d 778, 781 (11th Cir. 2000); United States v. Jordan, 162

 F.3d 1, 5 (1st Cir. 1998); United States v. Tidwell, 178 F.3d 9436, 949 (7th Cir. 1999) (a §3582(c)

 proceeding is not a “do-over of an original sentencing proceeding.”).       The Seventh Circuit has

 held that “[b]ecause § 3582 limits the substantive authority of the district court, it is a real
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 ‘jurisdictional’ rule rather than a case-processing requirement.” Smith, 438 F.3d at 799.

        A district court must be authorized by statute or rule to reduce a sentence that has become

 final. See 18 U.S.C. § 3582(c); Romandine v. United States, 206 F.3d 731, 734-35 (7th Cir.

 2000); United States v. Bedonie, 413 F.3d 1126, 1129 (10th Cir. 2005); United States v.

 Barragan- Mendoza, 174 F.3d 1024, 1028 (9th Cir. 1999); United States v. Bridges, 116 F.3d

 1110, 1112 (5th Cir. 1997). Section 3582(c)(2) is one source of authority, but it applies only if “a

 reduction is consistent with applicable policy statements issued by the Sentencing Commission.”

 18 U.S.C. § 3582(c)(2).

        A.      Amendment 487

        Amendment 487 has not been made retroactive by the Sentencing Commission, and is not

 listed in U.S.S.G. § 1B1.10(c). Therefore, the defendant is not entitled to review of his sentence

 pursuant to § 3582. Defendant’s motion with respect to Amendment 487 would be one that

 could, however, be reviewed as a post-conviction motion under 28 U.S.C. §2255. As the court

 stated in United States v. Lloyd, 398 F.3d 978, 980 (7th Cir. 2005),

          Any motion filed in the district court that imposed the sentence, and
          substantively within the scope of § 2255 ¶ 1, is a motion under § 2255, no
          matter what title the prisoner plasters on the cover. See, e.g., Ramunno v.
          United States, 264 F.3d 723 (7th Cir.2001). Call it a motion for a new trial,
          arrest of judgment, mandamus, prohibition, coram nobis, coram vobis, audita
          querela, certiorari, capias, habeas corpus, ejectment, quare impedit, bill of
          review, writ of error, or an application for a Get-Out-of-Jail Card; the name
          makes no difference.

 However, the defendant has already had his one habeas filing, Harley v. United States, 00-CV-

 759-WDS, which was dismissed by this Court on March 2, 2001. The Seventh Circuit has

 declined to issue an order authorizing this Court to entertain a second or successive petition. See

 Harley v. United States, No 04-1561 (7th Cir. March 23, 2004) and Harley v. United States, No.

 04-3563 (7th Cir. October 8, 2004). Defendant also sought review pursuant to 28 U.S.C. §2241,
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 which was denied on November 1, 2006, see Harley v. Revell, 06-cv-697-DRH. Therefore, the

 Court DISMISSES defendant’s motion for review of Amendment 487 pursuant to 18 U.S.C.

 § 3582 for lack of jurisdiction.

        B.      Amendment 591

        Amendment 591, unlike Amendment 487, is included in the list of amendments which

 are subject to review under §3582. U.S.S.G. §1B1.10(c). Amendment 591 amended U.S.S.G.

 §§ 1B1.1 and 1B1.2 to require courts to select the Chapter 2 offense guideline prescribed for the

 offense of conviction from the Statutory Index. Appendix A of the guidelines manual provides

 a method of connecting statutory offenses with offenses in the guidelines and directs courts on

 how to score various factors to calculate an offense level. Amendment 591 does not eliminate

 the Court’s review of a defendant’s relevant conduct in determining a sentence, but rather,

 instructs the sentencing court to select an offense guideline from Chapter 2 of the Guidelines

 Manual in order to determine the proper offense level.

         Defendant asserts that his Sixth Amendment rights were violated because he was not

 found guilty of all facts essential to the determination of “reasonable doubt.” He does not specify

 how that contention directly applies to his conviction, but does assert that the Court’s

 determination of conduct for sentencing was improper and that the jury should have been asked

 to make this determination. Although he not does specifically raise either Apprendi v. New

 Jersey, 530 U.S. 466 (2000) or United States v. Booker, 543 U.S. 220 (2005) it does appear that

 he is attempting to claim that his sentence was somehow in violation of Apprendi and Booker.

 However, it is well settled that although § 3582(c) allows a defendant to file a motion to reduce

 sentence based on appropriate retroactive amendments to the guidelines, it does not allow a

 defendant to seek a reduction in sentence based on new case law. United States v. Moreno, 421
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 F.3d 1217, 1220-21 (7th Cir. 2005). The only proper way to raise either an Apprendi or Booker

 claim is in a properly supported § 2255 motion. However, as previously noted, the defendant has

 already had his one habeas filing, and has not received permission from the Court of Appeals to

 file a second or subsequent petition.

        Even if the relief defendant seeks is not covered by Apprendi or Booker, the Court

 FINDS that he is not entitled to relief. Amendment 591 did not act to prohibit courts from using

 relevant conduct, like drug quantities, to determine the offense level, rather, it merely instructs

 courts to use the offense guidelines in Chapter 2 to determine the offense level. United States v.

 Kosmel, 272 F.3d 501, 507 (7th Cir. 2001); United States v. Rivera, 293 F.3d 584, 586-87 (7th Cir.

 2002). In this case, the Court used the offense level as set forth in § 2D1.1 to determine the

 defendant’s base offense level. Simply put, the defendant is not entitled to relief under the

 retroactive application of Amendment 591 to his criminal conviction and sentence.

        Therefore, upon review of the record, the Court FINDS that neither Amendment 487 nor

 Amendment 591 afford the defendant any relief in this matter and his motion to reduce, modify

 or correct sentence pursuant to 18 U.S.C. § 3582(c)(2), is DENIED on all grounds raised.

        IT IS SO ORDERED.

        DATED: April 12, 2007.



                                                       s/ WILLIAM D. STIEHL
                                                           DISTRICT JUDGE
